

People v Carr (2023 NY Slip Op 02462)





People v Carr


2023 NY Slip Op 02462


Decided on May 09, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 09, 2023

Before: Webber, J.P., Kern, Friedman, Mendez, Shulman, JJ. 


Ind. No. 4794/17 Appeal No. 221 Case No. 2019-03754 

[*1]The People of the State of New York, Respondent,
vJamar Carr, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Angie Louie of counsel), American International Group, Inc, New York (Irene Tan of counsel), and Kramer Levine Naftalis &amp; Frankel LLP, New York (David Richards of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Karl Z. Deuble of counsel), for respondent.



Judgment, Supreme Court, New York County (Maxwell Wiley, J.), rendered April 26, 2019, convicting defendant, upon his plea of guilty, of attempted murder in the second degree, robbery in the first degree and menacing a police officer or peace officer, and sentencing him to an aggregate term of 15 years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the mandatory surcharge and fees imposed at sentencing, and otherwise affirmed.
Although we do not find that defendant made a valid waiver of the right to appeal, we perceive no basis for reducing the sentence.
Based on our own interest of justice powers and the People's consent, we vacate the surcharge and fees imposed at sentencing (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 9, 2023








